                    Case 1:21-mj-00240-GMH Document 17 Filed 03/19/21 Page 1 of 1



AO 468 (Rev. 04/15) Waiver of   a Preliminary Hearing



                                         UNITSO STATBS DTSTruCT COURT
                                                               for the
                                                         District of Columbia

                   United States of America                        )
                                                                   )
                    Emma CoronelAispuro                            )     Case   No.     21-mt-240 (GMH)
                                                                   )
                                Defendant                          )

                                                 WATVER OF A PRELIMINARY HEARING

         I understand that I have been charged with an offense in a criminal complaint filed in this court, or charged with
violating the terms of probation or supervised release in a petition filed in this court. A magistrate j udge has informed
me of my right to a preliminary hearing under Fed. R. Crim. P. 5.1, or to a preliminary hearing under Fed. R. Crim. P.
32.1.

          I agree to waive my right to a preliminary hearing under Fed. R. Crim. P. 5.1 or Fed. R. Crim. P. 32.1.



Date:        0311912021                                                             /s/ Emma Coronel Aispuro
                                                                                                          's




                                                                                                 of   defe nda n t' s att or ne y



                                                                                Jeffrev Lichtman (NY #2395044)
                                                                          Printed name and bar number ofdefendant's attorney


                                                                                 Law Offices of Jeffrey Lichtman
                                                                                  11 East 44th Street, Suite 501
                                                                                      New York, NY 10510
                                                                                    A   ddre s s of defe ndant's at to rneY


                                                                                        il@ieffreylichtman.com
                                                                                 E-mail address of defendant's attorney

                                                                                             (212) 581-1001
                                                                                Telephone number of defendant's attorney


                                                                                              (212) 5814999
                                                                                  FAX number ofdefendant's attorney
